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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                 )
 ANDREW G. MCCABE.,                              )
                                                 )
               Plaintiff,                        )
                                                 )       Case No. 1:19-CV-2399-RDM
        v.                                       )
                                                 )
 WILLIAM P. BARR, in his official capacity       )
 as Attorney General of the United States, et    )
 al.,                                            )
                                                 )
               Defendants.                       )
                                                 )
                                                 )

                             RESPONSE TO SEALED MOTION

       While Defendants disagree with a number of the arguments offered in support of Plaintiff’s

sealed motion [ECF No. 7], they do not oppose the requested relief.


Dated: August 23, 2019                               Respectfully submitted,

                                                     JOSEPH H. HUNT
                                                     Assistant Attorney General

                                                     CHRISTOPHER R. HALL
                                                     Assistant Branch Director

                                                     /s/ Justin M. Sandberg
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